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                                                          Date of Arrest: 03/26
                                 UNITED STATES DISTRICT COURT
                                                  District of Arizona

    UNITED STATES OF AMERICA,
                                                                         CRIMINAL COMPLAINT
                                 Vs.
  Omar Ismael CAMPOS-Soto
  AKA: None Known
                                                                         CASE NUMBER:
                                                                                                   25-01417MJ
  Mexico
  YOB: 1996
  240138177
  Illegal Alien


I, the undersigned complainant being duly sworn state the following is true and correct to the best
of my knowledge and belief.
That on or about March 26, 2025, near San Luis, Arizona, in the District of Arizona,
Defendant Omar Ismael CAMPOS-Soto, an alien, did knowingly and voluntarily enter the
United States at a time or place other than as designated by Immigration Officers of the
United States of America, in violation of Title 8, United States Code, Section 1325(a)(1)
(Misdemeanor).

And the complainant further states that this complaint is based on the attached Statement
of Facts incorporat
         incorporated herein by reference.

                                 for Sydney Yew




                                                                        Signature of Complainant
                                                                        St
                                                                        Steven R
                                                                               Rowland
                                                                                    l d
                                                                        Border Patrol Agent
  Sworn to before me and subscribed telephonically,

March 27, 2025                                            at     Yuma, Arizona
     Date                                                        City and State



James F. Metcalf, United States Magistrate Judge
    Name & Title of Judicial Officer                             Sig
                                                                 Signature
                                                                  i nat
                                                                    n ure of Judicial Officer
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                                      STATEMENT OF FACTUAL BASIS
   Defendant:            Omar Ismael CAMPOS-Soto
   Dependents:            None

   IMMIGRATION HISTORY: The Defendant is an illegal alien.

    CRIMINAL AND IMMIGRATION HISTORY:
    DATE              LOCATION                       OFFENSE                DISPOSITION                   SENTENCE
     N/A                    N/A                          N/A                          N/A                       N/A


Narrative: The Defendant, a citizen of Mexico and illegally within the United States, was encountered by Border
           Patrol Agents near San Luis, Arizona.

           The Defendant was questioned as to their citizenship and immigration status. Border Patrol Agents
           determined that the Defendant is an undocumented National of Mexico and illegally in the United
           States.

           The Defendant was transported to Yuma Border Patrol Station for processing. During processing,
           questioning, and computer records checks; the above criminal and immigration information was
           obtained as it relates to this Defendant.

           The Defendant last entered the United States illegally without inspection near San Luis, Arizona on
           March 26, 2025.

           Border Patrol Agents advised the Defendant of their Miranda Rights. The Defendant understood those
           rights as they were explained to him and chose to waive his rights, agreeing to answer questions.

           During the interview, the Defendant stated that his intention after entering the United States was to
           travel to Texas.

           To the best of my knowledge and belief, the following is a list of Border Patrol law enforcement
           personnel present during interviews, statements and questioning of the Defendant in this matter from
           initial contact through the writing of this document: BPAs Frank Castro, Jazmin Legette, Jose Saldana
           and Brian Sainz.

         To the best of my knowledge and belief, the following is a list of all Border Patrol law enforcement
         personnel not already mentioned above who were present and/or took part in other parts of this
         investigation (e.g., arrest, search, proactive investigation, surveillance, etc) from initial field contact
         through the writing of this document: BPA. Robert Rousseau.
    Charges:          8 USC 1325(a)(1)                    M




                                                                Signature of Complainant


         Sworn to before me and subscribed telephonically,


         March 27, 2025
         Date                                                   Signature
                                                                   nat
                                                                    atur
                                                                    at uree of Judicial Officer
                                                                       ur
